Case 8:12-cr-00159-RAL-EA.] Document 60 Filed 06/18/15 Page 1 of 1 Page|D 170

 

 

AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C.§ 3582(0)(2) Page l of 2 (Page 2 Not for Pub|ic Disclosurc)
UNITED STATES DISTRICT COURT
for the

Middle District of Florida

United States of America

 

 

 

v. )
ADAM HERNANDEZ § Case No: szlz-cr-159-T-26EAJ
) USM No: 56479-018
Date of Original Judgment: 9/14/2012 )
Date of Previous Amended Judgment: ) AFPD Conrad B. Kahn
(Use Da!e of Last Amended Judgmem‘ lfAny) Defendant ’s Attor`ney

oRDER REGARDING MoTIoN FoR sENTENCE REDUCTION
PURSUANT To 18 U.s.C. § 3582(¢)(2)

Upon motion of 13 the defendant CI the Director of the Bureau of Prisons \/' the court under 18 U.S.C.
§ 3582(0)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §lBl.lO
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,

1T IS ORDERED that the motion is:
Cl DENIED. J' GRANTED and the defendant’s previously imposed sentence of imprisonment (as repeated in
the last judgment issued) of 60 months is reduced to 46 months .

 

(Complete Parts 1 and ll of Page 2 when motion is grantea')

Except as otherwise provided, all provisions of the judgment dated Sept. 14, 2012 shall main in effect.
IT IS SO ORDERED.

order Date: 6/18/2015 M , l

' Judge/:s‘id¢§e(

Effective Date: 11/1/2015 RICHARD A. LAZZARA, United States District Judge
(JdiNrentFom order date) Printed name and title

